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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                COLUMBUS DIVISION

 IN RE                                        :       Case No.       18-50708
         Brian Halenar                        :
         Katie Halenar                        :       Judge          C. Kathryn Preston
                                              :
                Debtor(s)                     :       Chapter        13
                                              :


                            RESPONSE TO MOTION TO DISMISS

         Now comes the Debtors, Brian and Katie Halenar, by and through attorney, Ronald A.

 Wittel, to respectfully respond to the Trustee’s Motion to Dismiss (Doc. 120, filed 7/27/2021).

 Debtors acknowledge the arrearage due to non-payment. Debtor is working with the trustee to

 schedule the repayment of these funds to catch up the payments through regular payments

 beyond the required 36 months but within the 60-month commitment period.

         Debtor(s) have resumed making payments to the Ch. 13 trustee. Debtor(s) will make

 extra payments to catch up their Ch. 13 case. Specifically, Debtor(s) made the following

 payments:

    •    $1,900 (6/14/2021),
    •    $1,900 (7/9/2021), and
    •    $1,900 (8/3/2021)

 Debtor(s) will make additional payments in the next month and in future months to catch up the

 arrearage.

         Debtor(s) anticipates coming to an Agreed Order with the Ch. 13 Trustee in the near

 future. Debtor(s) request the Court disallow any dismissal of their case. Debtor(s) request the

 Court allow them to continue in their Ch. 13 case and any further relief as may be appropriate.
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                                              Respectfully submitted,

                                              /s/ Ronald A. Wittel, Jr.
                                              Ronald A. Wittel, Jr. (0078689)
                                              1141 S. High St.
                                              Columbus, OH 43206
                                              (614) 445-3000, (614) 449-9780 (fax)
                                              Attorney for Debtor(s)
 Approved:

 /s/ Brian Halenar                            /s/ Katie Halenar
 Brian Halenar, Debtor                        Katie Halenar, Debtor

                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Response was served (i) electronically on the

 date of filing through the court’s ECF System on all ECF participants registered in this case at

 the email address registered with the court and (ii) by ordinary U.S. Mail on 8/17/2021 addressed

 to:

 By electronic court filing:
    • U.S. Trustee
    • Trustee Edward Bailey

 Via regular mail:

 Debtors:
 Brian and Katie Halenar
 9270 Huggins Ln.
 Reynoldsburg, OH 43068


                                              Respectfully submitted,

                                              /s/ Ronald A. Wittel, Jr.
                                              Ronald A. Wittel, Jr. (0078689)
